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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

MATTHEW L. GAETZ II                        RESPONSE TO ORDER TO SHOW
   Plaintiff                               CAUSE

v.                                         Civil Action No: 1:24-cv-03584 (APM)

UNITED STATES HOUSE OF
REPRESENTATIVES COMMITTEE
ON ETHICS, and MICHAEL GUEST,
in his official capacity as Chairman
of the House Committee on Ethics,
    Defendants.

                 PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE
      Pursuant to this Court’s Order to Show Cause, Plaintiff submits the

following:

      Due to the Defendant’s unprecedented and procedurally defective decision1 to

publicize the Report that was the subject of Plaintiff ’s Motion for a Temporary

Restraining Order without notice to Plaintiff and while Defendants’ knew or

reasonably should have known of this pending action, Plaintiff has now suffered

irreversible and irreparable harm. As such, Plaintiff concurs that the instant action

has been mooted and the Court now lacks subject matter jurisdiction to order the

previously requested relief.




1
 Rules of the Committee on Ethics, Rule 17A(b)(2), provides that: “At least one
calendar day before the Committee makes public any report and findings of the
Board, the Chair shall notify in writing the Board and the Member, officer, or
employee who is the subject of the referral of the impending public release of these
documents. At the same time, the Chair shall transmit a copy of any public
statement on the Committee’s disposition of the matter and any accompanying
Committee report to the individual who is the subject of the referral.
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                                       Respectfully submitted,

DATED: Dec 23, 2024


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